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               EXHIBIT 4
      State Plaintiffs’ Position Statement
       Regarding Protective Order and
         ESI Protocol (ECF No. 478)
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11
                                 IN THE UNITED STATES DISTRICT COURT
12
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
13
                                               OAKLAND DIVISION
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                                                             MDL No. 3047
16
     IN RE: SOCIAL MEDIA ADOLESCENT                          Case No. 4:22-md-03047-YGR
17   ADDICTION/PERSONAL INJURY
     PRODUCTS LIABILITY LITIGATION                            STATE PLAINTIFFS’ POSITION
18                                                            STATEMENT REGARDING
     THIS DOCUMENT RELATES TO ALL                             PROTECTIVE ORDER AND ESI
19   MATTERS                                                  PROTOCOL
20
                                                              Honorable Yvonne Gonzalez Rogers
21                                                            Honorable Peter H. Kang
22                                                            Action Filed: 10/24/2023
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 1                                          POSITION STATEMENT

 2    I.    BRIEF BACKGROUND
 3          On October 24, 2023, thirty-three states (States) filed a joint civil law-enforcement action

 4    against the Meta Defendants (Meta) in this MDL; eight additional states1 filed separate

 5    complaints against Meta in their respective state courts; and Florida sued Meta in federal court in

 6    Florida (which has since been conditionally transferred to this Court). The States assert causes of

 7    action under the federal Children’s Online Privacy Protection Act, as well as their respective state

 8    consumer protection laws governing unfair, deceptive, and abusive acts or practices.

 9          Because the States are relative newcomers to this MDL, their position has not yet been

10    heard on the discovery matters that have been briefed by the MDL Personal Injury and Local

11    Government Plaintiffs and Defendants. Accordingly, the States respectfully submit this position

12    statement regarding two issues already briefed.

13    II.   EXPERT DISCLOSURE PROVISIONS IN PROTECTIVE ORDER
14          The States join the Personal Injury and Local Government Plaintiffs’ opposition (Dkt. 303)

15    to the expert provisions in Section 7.6 of the Protective Order (Dkt. 290), which would impose

16    new and onerous disclosure obligations, burdening the States’ ability to provide certain materials

17    to retained consultants and experts. Meta cannot establish that good cause exists for imposing

18    these obligations on the States to avoid any specific prejudice or harm to Meta. See, e.g., Phillips

19    ex rel. Estates of Byrd v. Gen. Motors Corp., 307 F.3d 1206, 1210–11 (9th Cir. 2002) (“For good

20    cause to exist, the party seeking protection bears the burden of showing specific prejudice or
21    harm will result if no protective order is granted.”) (citation omitted).

22          There is no specific prejudice or harm that these provisions avoid, as highlighted by past

23    conduct between the States and Meta. Section 7.6 of the Protective Order significantly departs

24    from the confidentiality agreement that the States negotiated with Meta Platforms, Inc. and have

25    operated under for the past 18 months without any issues or objection from Meta. That agreement

26    does not impose tiered levels of confidentiality designations. Nor does it impose any disclosure or
27           1
                The District of Columbia, Massachusetts, Mississippi, New Hampshire, Oklahoma,
      Tennessee, Utah, and Vermont filed lawsuits alleging state consumer protection law violations in
28    their respective state courts.
                                                     1
             State Plaintiffs’ Position Statement Regarding Protective Order and ESI Protocol (Case No. 4:22-md-03047)
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 1    notice obligations on the States limiting their discretion in retaining or consulting with experts.

 2    The agreement reasonably and appropriately requires only that any consultants and experts

 3    assisting the States agree in writing to keep information confidential to the same extent as

 4    required by the confidentiality agreement. This regime has been acceptable to Meta during the

 5    course of the States’ investigation, and there is no reason to now impose new, unnecessary expert

 6    obligations on the States.

 7          Moreover, Defendants have not and cannot meet their burden to show good cause to impose

 8    the expert provisions in Section 7.6 on the States. The documents and information previously

 9    produced by Meta to the States during their investigation are governed by the less restrictive and

10    less onerous confidentiality agreement. None of those materials required heightened protections

11    described in Section 7.6. Meta has not identified what type of “trade secret or other confidential

12    research, development, or commercial information,” Fed. R. Civ. P. 26(c)(1)(G), it expects to

13    produce in this litigation going forward that it has not already produced, and that would justify the

14    stringent restrictions imposed by Section 7.6.

15          In fact, these restrictions would work particular harm and prejudice to the States by

16    disrupting ongoing engagements with consultants who were retained under different terms,

17    should the States need to share with them material newly produced in the MDL and designated

18    “highly confidential.” Further, the broad term “consultant,” used throughout the Protective Order,

19    could be interpreted to encompass Meta’s former employees. If so, this could chill the

20    cooperation of these individuals by jeopardizing their anonymity and compromise critical law-
21    enforcement relationships.

22          The States respectfully request that the Court remove the expert disclosure obligation

23    imposed by Section 7.6, and revisit the issue at a later date in the event that Meta is able to

24    identify and establish that specific materials require heightened protection. See, e.g., Foltz v. State

25    Farm Mut. Auto Ins. Co., 331 F.3d 1122, 1130 (9th Cir. 2003) (“A party asserting good cause [for

26    a protective order] bears the burden, for each particular document it seeks to protect, of showing
27    that specific prejudice or harm will result if no protective order is granted.”).

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 1    III. ESI PROTOCOL

 2          First, the States join the Personal Injury and Local Government Plaintiffs’ position

 3    regarding hyperlinked content described in the Joint Statement Regarding ESI Protocol (Dkt.

 4    352). In addition to the arguments raised by the Personal Injury and Local Government Plaintiffs,

 5    Defendants’ proposal requiring a showing of good cause for the production of individual

 6    hyperlinked attachments would be highly inefficient. Such a process could inject delay and the

 7    need for intervention from the Magistrate Judge to resolve any disputes that might arise between

 8    the parties.

 9          Second, the States, like the MDL Personal Injury and Local Government Plaintiffs, oppose

10    the inclusion of Section 15 in Defendants’ proposed order governing ESI (Dkt. 352). Defendants’

11    Section 15 provides that activities undertaken in compliance with the duty to preserve information

12    are protected from discovery under Rules 26(b)(3)(A) and (B) of the Federal Rules of Civil

13    Procedure, which protects trial preparation materials from discovery. As drafted, this Section

14    could inadvertently and inappropriately protect information related to possible spoliation

15    misconduct. The States oppose such a carveout.

16

17    Dated: December 13, 2023                                    Respectfully submitted,

18

19                                                                /s/ Bernard Eskandari
                                                                  Supervising Deputy Attorney General
20
                                                                  California Department of Justice
21                                                                Office of the Attorney General

22                                                                Attorney for Plaintiff the People of the State
                                                                  of California
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 1                                                ATTESTATION
 2           I hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence to the filing of

 3    this document has been obtained from each signatory hereto.

 4

 5     DATED: December 13, 2023                            By:     /s/ Bernard Eskandari
 6                                                                  Bernard Eskandari
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 1                                        CERTIFICATE OF SERVICE

 2

 3           I hereby certify that on December 13, 2023, I electronically filed the foregoing document

 4    with the Clerk of the Court using the CM/ECF system.

 5

 6     DATED: December 13, 2023                            By:     /s/ Bernard Eskandari

 7                                                                  Bernard Eskandari
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